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                                             Office of the United States Trustee
                         In re: ICPW Liquidation                             Post-Confirmation Status
                         Corporation, a California                                   Report
                         corporation, et al.
                                                                          Quarter Ending:
                         Chapter 11 Case No: Lead Case                    3/31/18
                         No.: 1:17-bk-12408-MB
                         Jointly administered with:
                         1:17-bk-12409-IVJE

  Attomey/Professional - Name, Address, Phone & FAX:                  Person responsible for report - Name, Address, Phone & FAX
  Samuel R. Maizel & Tania M. Moyron                                  Matthew Pliskin
  DENTONS US LLP                                                      3902 Henderson Blvd., Suite 208-336
  601 South Figueroa Street, Suite 2500                               Tampa, FL 33629
  Los Angeles, California 90017-5704                                  Telephone: (917) 543-2568
  Telephone: (213) 623-9300
  Facsimile: (2131623-9924

 Date Order was entered confirming plan           February 13, 2018

 Disbursing Agent (if any) (Please print)         Upon entry of an order granting the Joint Motion By Escrow Agent And The
                                                  Trustee Of The Trust For Approval OfStipulation Approving Transfer OfEscrow
                                                  [Docket No. 561], KCC LLC will be the disbursing agent.


 SUMMARY OF DISBURSEMENTS MADE DURING THE QUARTER

 Disbursements made under the plan                $0.00

 Other Disbursements                              $1,198,202.65

                          Total Disbursements     $1,198,202.65 1


 Projected date of final decree                   TBD based on resolution of litigation.

 What needs to be achieved before a final         Resolution of litigation against former officers, Radians Wareham Holding, Inc.
 decree will be sought? (Attach a separate        ("Radians") and other third parties.
 sheet if necessary)


 NarratiVe of events which impact upon the        The Trustee filed motions to estimate the claims of former officers and Radians
 ability to perform under the reorganization      [Mt, Nos. 473 & 474] and obtained orders thereon (the "Estimation Orders") jDkt.
 plan or other significant events that have       Nos. 553 & 555] in accordance with the confirmation order [Dkt. No. 442]. Now
 occurred during the reporting period (Attach     that the Estimation Orders have been entered, the Trustee is preparing to make an
 a separate sheet if necessary)                   initial distribution.



1 For purposes of calculating the UST fees, the disbursement total is $76,206.75 after deducting $1,121.995.90, which is the amount
paid to Brighton Best International, Inc. ("BBI"). BBI purchased substantially all of the Debtor's assets including accounts receivable.
The amount paid to BBI is comprised of payments received by the Debtor from former customers for which the accounts receivable
were sold to BBL

y.evised December 2001            POST-CONFIRMATION STATUS REPORT (Page 1 of 1)                                                USTLA-7
107307896
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    Date last U. S, Trustee fee paid         March 1, 2018

    Amount Paid                              $7,000.00


  I declare under penalty of perjury that the information contained in the document is true, complete and correct<


    Date                                                     Signature.of person.respunsible for this report




  This .reportis to be filed with the (LS. Trustee quarterly until ((final decree is entered. This
  report isfor US. Trustee purposes only. You may be required to file additional reports with the
  Bankruptcy Court,




yovitedDearnber 2001               POST-CONFIRMATION STATUS REPORT.(Page 2 of 1)
103.07896                                                                                                      USTLA-7
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 MONTHLY OPERATING REPORT-                                                                                                                           ATTACHMENT NO. I
 POST CONFIRMATION




                          .                                   QUESTIONNAIRE
                                                                                                                            YES"             NO
 1.     Have any assets been sold or transferred outside the normal course of business, or outside
        the Plan of Reorganization during this reporting period?                                                                         x
 2.     Are any post-confirmation sales or payroll taxes past duel
                                                                                                                                         x
 3.     Are any amounts owed to post-confmnationcreditordvendors over 90 days delinquent?
                                                                                                                                         x
 4.     Is the Debtor current on all post-confirmation plan payments?
                                                                                                                                         x


                "If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet,




                                                      INSURANCE INFORMATION
                                                                                                                             YES             NO.
 1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
        compensation, and othernecessary insurance coverages in effect?                                                                  x
 2.     Are all premium payments current?
                                                                                                                              N/A
                    the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet
                           In process of seeming the E&O required coverage. No other Physical opeartion of the Trust require insurance




                                                                        CONFIRMATION 01? INSURANCE
                                                                                                                             Payment Amount        Delinquency
                         TYPE of POLICY              and            CARRIER                          Period of Coverage       and Frequency         Amount




                          DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




      Estimated Date of Filing the Application for Final Decree:
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 MONTHLY OPERATING REPORT.-                                                                                             ATTACHMENT NO. 2
 POST CONFIRMATION


                                     CHAPTER 11 POST-CONFIRMATION
                            SCHEDULE OF RECEIPTS AND DISBURSEMENTS


 Case Name:       ICPW Liquidation Corporation, a California corporation

 Case Number: 17-bk-12408

 Date of Plan Confirmation: February 13, 2018

                 All items must be answered. Any which do not apply should be answered "none" or "N/A".


                                                                        Quarterly*            Post Confirmation Total
 1.   CASH (Beginning of Period)                                          15,367,377.27


 2. INCOME or RECEIPTS during the Period                                     113,359.85
                 NOTE : The receipts were payments from BBI customers to be remitted to BBI
 3.   DISBURSEMENTS
      a. Operating Expenses (Fees/Taxes):
         (i)   U.S. Trustee Quarterly Fees                     $                7,000.00 $
         (ii) Federal Taxes                                                         0.00
         (iii) State Taxes                                                      8,292.75
         (iv) Other Taxes                                                           0.00

      b.   All Other Operating Expenses:                     $             1,182,909.90 $
                 Note: Includes $1,121,995.90 remitted to BB
      c.   Plan Payments:
           (i)   Administrative Claims                       $                       0.00 $
           (ii) Class One                                                            0.00
           (iii) Class Two                                                           0.00
           (iv) Class Three                                                          0.00
           (v) Class Four                                                            0.00
                 (Attach additional pages as needed)

      Total Disbursements (Operating & Plan)                   $           1,198,202.65 $


 1.   CASH (End of Period)                                                14,282,534.47

 * For the post confirmation period from 2/28/18 - 3/31/2018
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 MONTHLY OPERATING REPORT -                                                                           ATTACHMENT NO. 3
 POST CONFIRMATION

                                      CHAPTER 11 POST-CONFIRMATION
                                     BANK ACCOUNT RECONCILIATIONS
                                   Prepare Reconcilafion for each Month of the Quarter

 Bank Account Information
                                                       Account           Account                 Account           Account
                                                         #1                #2                      #3                 #4
                                                                                                               First Republic
 Naive of Bank:                                    Capital One        Capital One          Capital One         Bank

 Account Number:                                   MEM0567            41111100575          Mair3806            10638

 Purpose of Account (Operating/Payroll/Tax)        Operating          Disbursement         DIP                 Escrow

 Type of Account (e.g. checking)                   Checking           Checking             Checking            Checking


 1. Balance per Bank Statement                          150,000.00          31,030.17             290,765.49     13,873,748.37
 2. ADD: Deposits not credited                                 0.00                 0.00                0.00                0.00
 3. SUBTRACT: Outstanding Checks                               0.00        -16,116.19                   0.00        -43,533.86
 4. Other Reconciling Items                                    0.00                 0.00                0.00              0.00

 5. Month End Balance (Must Agree with Books)           150,000.00          14,913.98            290,765.49      13,830,214.51


 Note: Attach copy of each bank statement and bank reconciliation.


 Investment Account Information
                                                       Date of            Type of            Purchase             Current
        Bank I Account Name / Number                  Purchase          Instrument            Price                Value
 N/A
                                                                                                  •




 Note: Attach copy of each investment account statement.
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MONTHLY OPERATING REPORT -                                                                                                 ATTACHMENT NO. 4
POST CONFIRMATION

                                              CHAPTER 'PI POST-CONFIRMATION
                                         CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

 Name of Bank                                                                Capital One
 Account Number                                                                       575
 Purpose of Account (Operating/Payroll/Persona()                             Disbursement
 Type of Account (e.g., Checking)                                            Checking

   Check   Date of
  Number Transaction                    Payee                                              Purpose or Description                          Amount
 wire         3/112018 US Trustee                                           US Bankruptcy Payments                                           7,000.00
 wire        3/2/2018 Geoff Greulich                                        CEO Salary for February                                         1 ,500.00
 wire         3/2/2018 Tranfer to BBI                                       Transfer BBI receipts to BBI                                 1,121,995.90
 Bank Chec  3/14/2018 Captial One                                           Bank Fee                                                           367.50
 wire       3/16/2018 Michael DiGregorio (Board Payments)                   Post-petition board payments                                    14,293.48
 wire       3/16/2018 Done Ventures (Board Payments)                        Post-petition board payments                                    14,293.48
 wire       3/19/2018 Woneel                                                Vendor past due                                                    615.40
      5815  3/23/2018 OREGON DEPARTMENT OF REVENUE                          Taxes                      ,                                       150.00
      5816  3/23/2018 Franchise Tax Board                                   Taxes                                                              800.00
 Bank Chec  3/23/2018 John R. Ames, CTA                                     Taxes                                                            3,912.08
 Bank Chec  3/23/2018 Valwood Improvement Authority                         Taxes                                                              671.05
 Bank Chec  3/23/2018 State Comptroller                                     Taxes                                                            2,759.62




                                                                                                                       TOTAL             1,179,358.51

 If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
 holding check and anticipated delivery date of check.
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 MONTHLY OPERATING REPORT -                                                                                                ATTACHMENT NO. 4
 POST CONFIRMATION

                                               CHAPTER 11 POST-CONFIRMATION
                                          GASH/DEBIT/CHECK DISBURSEMENTS DETAILS

 Name of Bank                                                                Capital One
 Account Number                                                              1111111100575
 Purpose of Account (Operating/Payroll/Personal)                             Disbursement ,
 Type of Account (e.g., Checking)                                            Checking

  Check          Date of
  Number       Transaction                        Payee                                      Purpose or Description                      Amount
     5818          3/23/2018   Robert Steckler                               Post-petition board payments                                 5,543.48
     5819          3/23/2018   Emmett Murphy                                 Post-petition board payments                                 5,343.48
     5820          3/27/2018   David Jacobs                                  Post-petition.board payments                                 4,043.48
     5821         3/29/2018    Washington State                              Taxes                                                        1,185.75




                                                                                                                       TOTAL             16,116.19

 If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
 holding check and anticipated delivery date of check.
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 MONTHLY OPERATING REPORT -                                                                                                ATTACHMENT NO. 4
 POST CONFIRMATION

                                               CHAPTER '11 POST-CONFIRMATION
                                          CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

 Name of Bank                                                                First Republic Bank
 Account Number                                                                       638
 Purpose of Account (Operating/Payroll/Personal)                             Escrow
 Type of Account (e.g., Checking)                                            Checking

   Check   Date of
  Number Transaction                              Payee                                      Purpose or Description                      Amount
      261    3/26/2018 Mercindo                                              Pre-petition indebtedness (check dated 12/21)                10,208.14
      316    3/13/2018 Veritex                                               Legal Process Expenses                                            995




                                                                                                                       TOTAL

 If any checks written this pe iod have not been delivered to the payee, provide details, including the payee, amount, explanation for
 holding check and anticipated delivery date of check.
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        Comniercial           Ranking Group
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                                                                         CASH MANAGEMENT CHECKING MONEY MARKET Ps LOANS




       IRONCLAD PERFORMANCE WEAR CORPORATION
       OPERATING ACCOUNT                                                          ri   Contact your Relationship Manager to discuss
       SUITE 300                                                                       targeted solutions for your evolving business needs.
       1920 HUTTON CT
       DALLAS TX 75234




 ACCOUNT SUMMARY                            FOR PERIOD MARCH 01, 2018 - MARCH 30, 2018

                                                                                                                   ICPW LIQUIDATION
                                                             0567 _                                                    CORPORATION
Previous Balance 02/28/18                               $150,232.00         Number of Days in Cycle                                30
 56 Deposits/Credits                                      $99,259,85        Minimum Balance This Cycle                    $150,000.00
26 Checks/Debits                                        ($99,491.85)        Average Collected Balance                     $148,315.80
Service Charges                                                $0.00
Ending Balance 03/30/18                                 $150,000.00

ACCOUNT DETAIL                     FOR PERIOD MARCH 01, 2018 - MARCH 30, 2018
                                                                                                                      ICPW LIQUIDATION
                                                             0567                                                        CORPORATION
Date Description                                                       Dgposits1Credlts      WithdrawasiDobits          Resultin Salance
03/01 Foreign Check Collection INTERNATIONAL                                 $1,155.42                                       $151,387.42
      INTERNATL 030118 CA060010899-00
03/01 Foreign Check Collection INTERNATIONAL                                   $158.04                                         $151,545,46
      INTERNATL 030118 CA060010899-00
03/01 ACH deposit COF MERCHNT SET COMB.                                        $105.10                                         $151,650.56
      DEP. 030118 IRONCLAD PERFORMANCE
      4111.18769
03/01 Foreign Check Collection INTERNATIONAL                                    $34.58                                         $151,685.14
      INTERNATL 030118 CA060010899-00
03/01 ACH deposit HOME DEPOT 0537 EDI                                           $15.90                                         $151,701.04
      PAYMNT 030118 IRONCLAD
      PERFORMANCE Wallen4381
03/01 Transfer debit Transfer to 1111111113806                                                           $1,701.04             $150,000.00
03/02 ACH deposit True Value Co PAYMENT                                      $2,493.89                                         $152,493.89
      030218 IRONCLAD PERFORMANCE W
      0448346
03/02 Transfer debit Transfer to 01113806                                                                $2,493.89             $150,000.00
03/05 Lockbox deposit                                                        $4,327.93                                         $154,327.93




                                                          Thank you for banking with us.                                     PAGE 1 OF 6
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 ACCOUNT DETAIL          CONTINUED FOR PERIOD MARCH 01, 2018 - MARCH 30, 2018
Date Description                                   DepesitslCredits   Withdrawals/Debits    Resulting Balance
 03/05 ACH deposit True Value Co PAYMENT                   $309.66                               $154,637.59
         030518 IRONCLAD PERFORMANCE W
         0448586
 03/05 ACH deposit COF MERCHNT SET COMB.                   $216.51                                  $154,854,10
         DEP. 030518 IRONCLAD PERFORMANCE
         11111111111113769
03/05 ACH deposit HOME DEPOT 0537 EDI                      $185.03                                  $155,039.13
         PAYMNT 030518 IRONCLAD
         PERFORMANCE Wale$1,5781
03/05 ACH deposit COF MERCHNT SET COMB.                    $154.61                                  $155,193.74
         DEP. 030518 IRONCLAD PERFORMANCE
        11111111.8769
03/05 Transfer debit Transfer toill11111111,3806                                $866.74             $154,327.00
03/06 Wire transfer deposit NOW                         $13,030.54                                  $167,357.54
        NETHERLANDS B.V, 030618
        USD************0352
03/06 Foreign Check Collection INTERNATIONAL               $572.65                                  $167,930.19
        INTERNATL 030618 CA060010908-00
03/06 Foreign Check Collection INTERNATIONAL             • $537.39                                 $168,467,58
        INTERNATL 030618 CA060010908-00
03/06 ACH deposit ORGILL INC                               $123.13                                  $168,590.71
        VENDORPYMT 030618 BRIGHTON BEST
        0090405
03/06 Foreign Check Collection INTERNATIONAL                $44.46                                  $168,635.17
       INTERNATL 030618 CAD60010908-00
03/06 ACH deposit HOME DEPOT 0537 EDI                        $7.12                                 $168,642.29
       PAYMNT 030618 IRONCLAD
        PERFORMANCE WANONIL5908
03/06 Transfer debit Transfer to aINNIM3806                                  $18,642.29            $150,000.00
03/07 ACH deposit True Value Co PAYMENT                  $9,386.26                                 $159,386.26
       030718 IRONCLAD PERFORMANCE W
       0449148
03/07 ACH deposit COF MERCHNT SET COMB.                   $225.88                                  $159,612.14
       DEP. 030718 IRONCLAD PERFORMANCE
       411111111118769
03/07 Transfer debit Transfer to41111113806                                   $9,612.14            $150,000.00
03/08 ACH deposit HOME DEPOT 0537 EDI                     $236,55                                  $150,236.55
       PAYMNT 030818 IRONCLAD
       PERFORMANCE W 2000476113
03/08 Transfer debit Transfer to 111111111113806                                $236,55            $150,000.00
03/09 ACH deposit True Value Co PAYMENT                   $422.26                                  $150,422.26
       030918 IRONCLAD PERFORMANCE W
       0449795
03/09 ACH deposit PORTER-WALKER                           $289.06                                  $150,711.32
       PAYMENTS 030918 IRONCLAD
       PERFORMANCE
03/09 Foreign Check Collection INTERNATIONAL              $158.43                                  $150,869.75
       INTERNATL 030918 CA060010918-00

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                                                                       CASH MANAGEMENT CHECKING. MONEY MARKET CDs LOANS



  IRONCLAD PERFORMANCE WEAR CORPORATION
  OPERATING ACCOUNT
  SUITE 300

  ACCOUNT DETAIL                     CONTINUED FOR PERIOD MARCH 01, 2018 - MARCH 30, 2018
 Date Description                                                     Deposits/Credits    Withdrawals/Debits    Resulting Balance
  03/09 ACH Withdrawal COF MERCHNT BILL COF                                                          $762,58         $150,107.17
         BILLNG 030918 IRONCLAD
         PERFORMANCE W 0A351P
  03/09 ACH Withdrawal COF MERCHNT BILL COF                                                          $29.95             $150,077.22
         BILLNG 030918 IRONCLAD
         PERFORMANCE W 0A2610
 03/09 Transfer debit Transfer to all1111.3806                                                       $77.22             $150,000.00
 03/12 Lockbox deposit                                                        $656.55                                   $150,656.55
 03/12 ACH deposit COF MERCHNT SET COMB.                                      $281.31                                   $150,937.86
         DEP. 031218 IRONCLAD PERFORMANCE
        411111111111118769
 03/12 ACH deposit HD SUPPLY USD - CASH                                       $140.14                                   $151,078.00
         CONC 031218 IRONCLAD PERFORMANCE
         W
 03/12 ACH deposit COF MERCHNT SET COMB,                                      $117,05                                   $151,195.05
         DEP. 031218 IRONCLAD PERFORMANCE
        11111111111118769
 03/12 ACH deposit HOME DEPOT 0537 EDI                                         $35.24                                   $151,230.29
        PAYMNT 031218 IRONCLAD
        PERFORMANCE W an1.06945
 03/12 Transfer debit Transfer to X1          806                                                   $574.29             $150,656,00
 03/13 Lockbox deposit                                                     $14,286.34                                   $164,942.34
 03/13 Transfer debit Transfer to ~806                                                              $656.34             $164,286.00
 03/14 ACH deposit True Value Co PAYMENT                                      $255.86                                   $164,541.86
        031418 IRONCLAD PERFORMANCE W
        0450799
 03/14 ACH deposit COF MERCHNT SET COMB.                                     $201.48                                    $164,743.34
        DEP. 031418 IRONCLAD PERFORMANCE
        0111111118769
 03/14 Transfer debit Transfer to 41111111111113806                                              $14,743.34             $150,000.00
 03/15 Lockbox deposit                                                      $6,096.93                                   $156,096,93
 03/15 ACH deposit True Value Co PAYMENT                                     $405.50                                    $156,502.43
        031518 IRONCLAD PERFORMANCE
        0451155
 03/15 ACH deposit COF MERCHNT SET COMB,                                       $99.19                                   $156,601.62
        DEP. 031518 IRONCLAD PERFORMANCE
        411111111108769
 03/15 ACH deposit HOME DEPOT 0537 EDI                                         $69.40 •                                 $156,671.02
        PAYMNT 031518 IRONCLAD
        PERFORMANCE W 111111M6208
 03/15 Transfer debit Transfer to 1111,003806                                                       $575.02             $156,096.00



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 ACCOUNT DETAIL            CONTINUED FOR PERIOD MARCH 01, 2018 - MARCH 30; 201.8
 Date Description                                     Deposits/Credits   Withdrawals/Debits   Resulting Balance
 03/16 ACH deposit True Value Co PAYMENT                       $16.59                              $156,112.59
        031618 IRONCLAD PERFORMANCE W
        0451467
 03/16 Analysis service charge debit ANALYSIS                                       $890.69        $155,221.90
        CHRG
 03/16 Transfer debit Transfer to J111111111163 806                               $5,221.90        $150,000,00
 03/19 Lockbox deposit                                      $3,598.50                              $153,598.50
 03/19 ACH deposit COF MERCHNT SET COMB.                     $149.05                               $153,747.55
        DEP. 031918 IRONCLAD PERFORMANCE
       411110118769
 03/19 ACH deposit HOME DEPOT 0537 EDI                        $126.76                              $153,874.31
        PAYMNT 031918 IRONCLAD
        PERFORMANCE W11/111113443
 03/19 ACH deposit COF MERCHNT SET COMB.                       $52.41                              $153,926,72
        DEP. 031918 IRONCLAD PERFORMANCE
       11111111111118769
 03/19 ACH deposit HD SUPPLY USD - CASH                        $17,25                              $153,943.97
       CONC 031918 IRONCLAD PERFORMANCE

03/19 Transfer debit Transfer to fillitili8806                                     $345.97         $153,598.00
03/20 Lockbox deposit                                       $2,560.97                              $156,158.97
03/20 ACH deposit COF MERCHNT SET COMB.                       $145.28                              $156,304.25
      DEP. 032018 IRONCLAD PERFORMANCE
      111111111111118769
03/20 ACH deposit HOME DEPOT 0537 EDI                         $105.98                              $156,410.23
      PAYMNT 032018 IRONCLAD ,
      PERFORMANCE W411101/11361
03/20 Transfer debit Transfer to'1111111111115806                                $3,850.23         $152,560.00
03/21 ACH deposit True Value Co PAYMENT                     $6,866.27                              $159,426.27
      032118 IRONCLAD PERFORMANCE W
      0452444
03/21 Transfer debit Transfer to 1111111111113806                                $9,426.27         $150,000.00
03/22 ACH deposit True Value Co PAYMENT                    $15,897.60                              $165,897.60
      032218 IRONCLAD PERFORMANCE W
      0452770
03/22 Lockbox deposit                                          $91.08                              $165,988.68
03/22 ACH deposit HOME DEPOT 0537 EDI                          $55.56                              $166,044.24
      PAYMNT 032218 IRONCLAD
      PERFORMANCE W 10892
03/22 Transfer debit Transfer to 411111111111113806                             $15,953.24         $150,091.00
03/23 ACH deposit True Value Co PAYMENT                     $6,886.26                              $156,977.26
      032318 IRONCLAD PERFORMANCE W
      0453106
03/23 Transfer debit Transfer to 111911111103806                                 $6,977.26         $150,000.00
03/26 Lockbox depoSit                                       $1,471.04                              $151,471.04
03/26 ACH deposit COF MERCHNT SET COMB.                      $345.10                               $151,816.14
      DEP. 032618 IRONCLAD PERFORMANCE
      01.11118769
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                                                                       CASH MANAGEMENT CHECKING MONEY MARKET CDs LOANS



  IRONCLAD PERFORMANCE WEAR CORPORATION
  OPERATING ACCOUNT
  SUITE 300

  ACCOUNT DETAIL                     CONTINUED FOR PERIOD MARCH 01, 2018 - MARCH 30, 2018
 Date       Description                                               Deposits/Credits   Withdrawals/Debits    Resulting Balance
 03/26      ACH deposit COF MERCHNT SET COMB.                                 $125,96                               $151,942.10
            DEP. 032618 IRONCLAD PERFORMANCE
            1~0769
  03/26     ACH deposit HOME DEPOT 0537 EDI                                    $86.87                               $152,028.97
            PAYMNT 032618 IRONCLAD
            PERFORMANCE W111011.1111407
 03/26      Transfer debit Transfer to X3806                                                       $557.97          $151,471.00
 03/27      Lockbox deposit                                                   $558.47                               $152,029.47
 03/27      ACH deposit HOME DEPOT 0537 EDI                                    $75.14                               $152,104.61
            PAYMNT 032718 IRONCLAD
            PERFORMANCE Wall11.10469
 03/27      ACH Withdrawal PAYPAL              ECHECK                                               $34.73          $152,069.88
            032718 IRONCLAD PERFORMANCE W
            J22222BU859HC                             4
 03/27      Transfer debit Transfer to 4111111111146806                                           $1,511.88         $150,558,00
 03/28      Transfer debit Transfer toallall.806                                                   $558.00          $150,000.00
 03/29      LoCkbox deposit                                                 $3,192.32                               $153,192.32
 03/29      Transfer debit Transfer to 111111110113806                                               $0.32          $153,192.00
 03/30      Transfer debit Transfer to 1111111111111806                                          $3,192.00          $150,000.00
 Total                                                                     $99,259.85           $99,491.85




                                                                                                                  PAGE 5 OF 6
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 CaPita/GleeBank
           Commercial Banking Group
                                                                                         MANAGE YOUR CASH
                                                                         CASH MANAGEMENT 1 CHECKING I MONEY MARKET 1 CDs 1 LOANS




        ICPW LIQUIDATION CORPORATION
        DISBURSEMENT ACCOUNT                                                      I Contact your Relationship Manager to discuss
        1920 HUTTON CT                                                              targeted solutions for your evolving business needs.
        SUITE 300
        DALLAS TX 75234-9017




ACCOUNT SUMMARY                             FOR PERIOD MARCH 01, 2018 - MARCH 30, 2018

                                                                                                                 ICPW LIQUIDATION
                                                            0575                                                    CORPORATION
Previous Balance 02/28/18                               $75,892.78         Number of Days in Cycle                              30
 2 Deposits/Credits                                  $1,134,495.90         Minimum Balance This Cycle                   $31,030.17
10 Checks/Debits                                   ($1,179,358.51)         Average Collected Balance                    $51,876.93
Service Charges                                              $0.00
Ending Balance 03/30/18                                 $31,030.17

ACCOUNT DETAIL                     FOR PERIOD MARCH 01, 2018 - MARCH 30, 2018
                                                                                                                   ICPW LIQUIDATION
                                                              0575                                                     CORPORATION
Date   Description                                                    Deposits/Credits    Withdrawals/Debits          Resulting Balance
03/01 Wire transfer deposit CASH CONTROL                                   $12,500.00                                        $88,392.78
       UTA WIRES ATT 030118
       USDS0680602717101
03/01 Check        0                                                                                  $7,000.00              $81,392.78
03/02 Book transfer credit FROM ...3806                                 $1,121,995.90                                     $1,203,388.68
03/02 Wire transfer withdrawal CHARLES                                                               $12,500.00           $1,190,888.68
       SCHWAB & CO 030218 USD0002993881
03/02 Wire transfer withdrawal BRIGHTON-BEST                                                     $1,121,995.90                $68,892.78
       IN TERNATIONA 030218 USD0002994556
03/14 Check        0                                                                                    $367.50               $68,525.28
03/16 Wire transfer withdrawal DONE                                                                  $14,293.48               $54,231.80
       VENTURES, LLC 031618 USD0003067424
03/16 Wire transfer withdrawal MICHAEL                                                               $14,293.48               $39,938.32
       DIGREGOR IO 031618 USD0003067414
03/19 Wire transfer withdrawal WONEEL                                                                   $615.40               $39,322.92
       AMERICA! NC 031918 USD0003069249
03/23 Check 9103294045                                                                               $7,342.75                $31,980.17
03/30 Check      5816                                                                                  $800.00                $31,180.17 •
03/30. Check     5815                                                                                  $150.00                $31,030.17
Total                                                                   $1,134,495.90            $1,179,358.51


                                                          Thank you for banking with us.                                   PAGE 1 OF 2
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 ACCOUNT DETAIL             CONTINUED FOR PERIOD MARCH 01,•2018    - MARCH 30, 2018
                                                                                                ICPW LIQUIDATION
                                                0575                                                CORPORATION
 Checks * designates gap in check sequence
 Check No, Date                   Amount     Check No.   Date     Amount    Check No,    Date              Amount
 0            03/01             $7,000.00    5815*       03/30    $150.00   3294045*    03/23            $7,342.75
 0*           03/14               $367.50    5816        03/30    $800.00




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Ca        itakUne   -Bank
               Commercial Banking Group
                                                                                          MANAGE YOUR CASH
                                                                          CASH MANAGEMENT1CHECKING i MONEY MARKET i CDs I LOANS




       ICPW LIQUIDATION CORPORATION
       "DIP" CENTRAL DISTRICT OF CALIFORNIA                                       1 Contact your Relationship Manager to discuss
       CASE # 1:17-BK-12408-MB                                                      targeted solutions for your evolving business needs.
       1920 HUTTON CT, SUITE 300
       DALLAS TX 75234-9017




ACCOUNT SUMMARY                              FOR PERIOD MARCH 01, 2018 - MARCH 30, 2018

                                                                                                                 ICPW LIQUIDATION
                                                        3806                                                        CORPORATION
Previous Balance 02./28/18                            $1,313,402.49        Number of Days in Cycle                              30
 23 Deposits/Credits                                     $99,373.90        Minimum Balance This Cycle                  $195,601.52
2 Checks/Debits                                     ($1,122,010.90)        Average Collected Balance                   $282,398.89
Service Charges                                               $0.00
Ending Balance 03/30/18                                $290,765.49

ACCOUNT DETAIL                      FOR PERIOD MARCH 01, 2018 - MARCH 30, 2018
                                                                                                                    ICPW LIQUIDATION
                                                        3806                                                            CORPORATION
Date       Description                                                 Deposits/Credits   Withdrawals/Debits          Resulting Balance
03/01      Funding Transfer Credit Transfer from                             $1,701.04                                   $1,315,103.53
           1.11111111110567
03/02      Funding Transfer Credit Transfer from                             $2,493.89                                    $1,317,597.42
           101110$0567
03/02      Book transfer debit TO ...0575                                                        $1,121,995.90               $195,601.52
03/05      Funding Transfer Credit Transfer from                               $866.74                                       $196,468.26
           10567
03/06      Funding Transfer Credit Transfer from                            $18,642.29                                       $215,110.55

03/07      Funding Transfer Credit Transfer from                             $9,612.14                                       $224,722.69
           011111111110567
03/08      Funding Transfer Credit Transfer from                               $236.55                                       $224,959.24
           1111111,0567
03/09      Wire transfer deposit RESOURCES                                   $1,600.00                                       $226,559.24
           CONNEC T1ON LLC 030918
           USD************1982
03/09      Funding Transfer Credit Transfer from                                $77.22                                       $226,636.46
           4670100567
03/09      Wire transfer fee RESOURCES CONNEC                                                             $15.00             $226,621.46
           T1ON LLC 030918


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                                                                                                                     FDIC
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 ACCOUNT DETAIL            CONTINUED FOR PERIOD MARCH 01, 2018      - MARCH 30, 2018
 Date       Description                             Deposits/Credits     Withdrawals/Debits        Resulting Balance
 03/12     Funding Transfer Credit Transfer from             $574.29                                     $227,195.75
          +1111111111110567
 03/13     Funding Transfer Credit Transfer from            $656.34                                        $227,852.09
           1111/1111160567
 03/14     Funding Transfer Credit Transfer from         $14,743.34                                        $242,595.43
          111111100567
 03/15     Funding Transfer Credit Transfer from            $575.02                                        $243,170.45
           01111111110567
 03/16    Funding Transfer Credit Transfer from           $5,221.90                                        $248,392.35
          ~3567
 03/19    Funding Transfer Credit Transfer from             $345.97                                        $248,738.32
           0111111111110567
03/20     Funding Transfer Credit Transfer from           $3,850.23                                        $252,588.55
          1.11111110567
03/21     Funding Transfer Credit Transfer from           $9,426.27                                        $262,014.82
          411.11111.0567
03/22     Funding Transfer Credit Transfer from          $15,953.24                                        $277,968.06
         1111Mr567
03/23     Funding Transfer Credit Transfer from           $6,977.26                                        $284,945.32
         111111101111110567
03/26     Funding Transfer Credit Transfer from             $557.97                                        $285,503.29
         APPIONI0567
03/27     Funding Transfer Credit Transfer from           $1,511.88                                        $287,015.17
         1111111111140567
03/28     Funding Transfer Credit Transfer from             $558.00                                        $287,573.17
         1111.11111111/0567
03/29    Funding Transfer Credit Transfer from                   $0.32                                     $287,573.49
         111111110567
03/30    Funding Transfer Credit Transfer from            $3,192.00                                        $290,765.49
         110M0567
Total                                                    $99,373.90           $1,122,010.90

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ACCOUNT STATEMENT                                                                                                 PIR.ST REPUBLIC BANK
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                                                                                                         Statement Period:
     PREFERRED CHECKING                                                                                  March 01, 2018 -
                                                                                                         March 31, 2018

                    IRONCLAD PERFORMANCE WEAR CORPORATION                                                Account Number:
              Csi
                I 0 LNBV&B LLP TTEES                                                                     XXX-XXX0-0638
              al
              vi In CASE # i 17 BK 12408 MB
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                    10250 CONSTELLATION BLVD
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                  o STE 1700                                                                             At. Your Service:
                    LOS ANdELES, CA 90067                                                                24-Hour Automated Banking System
                                                                                                         (800)392-1407
                                                                                                     •
                                                                                                         Enclosures 2                    Page 1 of 3

         NEWS* FROM FIRST ,REPUBLIC
         Looking to refinance your student loans and put your savings to work? Achieve your next milestone faster with our Eagle
         Gold All-in-One student loan refinancing program, We currently offer among the lowest fixed rates in the industry, with
         terms ringing from 5 to 15 years,

         Know someone with student loan debt? Were offering all First Republic clients a referral bonus of 5300 for each loan
         that is approved and funded. Your friend v,vill receive 5200 as well. Terms and conditions apply, Visit
         tirstrepublic.comistudent-loan-refinancing for more information or ask your banker about Eagle Gold All-In-One today.


         ACCOUNT SUMIV1ARY                                                       XXX-XXX0-0638
         Beginning Balance                                 S13,882,004.21        Average Daily Balance                              $13,879,418.55
           Total Deposits and Credits                            S2,947.30       Minimum Balance                                    513,870,801.07
           Total Withdrawals and Debits                               $0.00      Service Charges                                                 $0-.00
          Total Checks Paid                                    SI 1,203.14-       Interest Earned This Period                            $2,947.30
         Ending*Balance                                    $13,873,748.37        Interest Year to Date                                   $8.559.69
                                                                                 2017 Interest                                           $4,220.67



         CHECKS PAID                                     Gap in check sequence

                    NUMBER                      DATE                AMOUNT               NUMBER                         DATE             AMOUNT

                          * 261                 03/26              $10,208.14                  316                      03/13               S995.00


         ACCOUNT ACTIVITY
        DATE                      DESCRIPTION                                                                                            AMOUNT

                                  Deposits and Credits
        03/31                      CREDIT - INTEREST                                                                                     $2.947.30

                                  Total Deposits and Credits                                                                             52,947.30

                                    ANNUAL PERCENTAGE YIELD EARNED (APY-E)                                              0.25%
                                    INTEREST EARNED THIS STATEMENT PERIOD                                           $2,947,30



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believe r; in error. :,;,) that you will ha t tiNe of the money until our investigation t•:: complettd.



            For First Republic's 7.4-hour AttfOntated Banking, System, please call 1-890-392-1-107.
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ACCOUNT STATEMENT                                                                                                                        FIRST F.Z.liPlii11.1(1; BANK
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Check It 316 Date 3/13/2018 Amount $995,00




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